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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION

VIRGINIA FOREST PRODUCTS, LLC,
                           )
                           )
                           )
          Plaintiff,       )                              Case No. 2:18CV00039
                           )
v.                         )                                    JUDGMENT
                           )
                           )
UNIWOOD OF NORTH CAROLINA, )                              By: James P. Jones
INC.,                      )                              United States District Judge
                           )
          Defendant.       )

       It appearing proper, it is ADJUDGED AND ORDERED that the plaintiff

Virginia Forest Products, LLC, have and recover judgment against the defendant

Uniwood of North Carolina, Inc., in the amount of Eighty Thousand Seven

Hundred and Sixty-Five Dollars and Eighty-Six Cents ($80,765.86), together with

its taxable costs.

       The Clerk shall administratively close the case, subject to leave to the

plaintiff to seek a determination of its costs.


                                                  ENTER: March 8, 2019

                                                  /s/ James P. Jones
                                                  United States District Judge
